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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JAMES GLINDIN,
                                            Case No. 18-13235
              Plaintiffs,
vs.                                         HONORABLE ARTHUR J. TARNOW
                                            SENIOR U.S. DISTRICT JUDGE
JEFF GLOVER AND ASSOCIATES,
INC., et al.,

          Defendants.
___________________________/

      NOTICE OF STATUS CONFERENCE TO SCHEDULE: DISCOVERY,
      FINAL PRETRIAL ORDER AND FINAL PRETRIAL CONFERENCE

       You are notified to appear on Monday, February 11, 2019 at 3:00 p.m. in the

Chambers of the Honorable Arthur J. Tarnow, Room 107, Theodore Levin U.S.

Courthouse, 231 W. Lafayette, Detroit, Michigan, for a Status Conference on the

above cause. The attorney appearing at this conference must be familiar with the

case. Also, please have clients and/or someone with settlement authority at the

conference.

       PLEASE BE PREPARED TO DISCUSS THE FOLLOWING:

       1.     A brief summary to the Court of the case and issues;
       2.     Subject matter jurisdiction;
       3.     Relationship to other cases; and
       4.     Necessity of amendments to pleadings, additional parties, third-party
              complaints, etc.
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      At the conference, the Court will set a discovery cut-off date, schedule a final

pretrial conference and a trial date. Discovery may commence immediately. All motions

must be disposed of prior to the final pretrial conference. Counsel desiring to have

motions heard will file them by electronic means, with a courtesy copy sent to Judge

Tarnow’s chambers. A date for hearing on the motion will be assigned by this Court,

and counsel will be notified as to the date.

      To view Judge Tarnow’s pretrial and trial practice, see www.mied.uscourts.gov.


                                                s/Michael E. Lang
                                                Case Manager to Arthur J. Tarnow
Dated: January 14, 2019




______________________________________________________________

                           CERTIFICATE OF SERVICE

       I hereby certify on January 14, 2019 that I electronically filed the foregoing paper
with the Clerk of the Court sending notification of such filing to all counsel registered
electronically. I hereby certify that a copy of this paper was mailed to the following
non-registered ECF participants on January 14, 2019: None.

                                         s/Michael E. Lang
                                         Case Manager to
                                         District Judge Arthur J. Tarnow
                                         (313) 234-5182
